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                                           UNITED STATES BANKRUPTCY COURT
                                                           District of Delaware
                                                       824 Market Street, 3rd Floor
                                                          Wilmington, DE 19801
                                                           www.deb.uscourts.gov

IN RE:
Donald Michael Allan
                                                                                      Case No.: 19−11574−LSS
Debtor(s)
                                                  NOTICE OF PETITION DEFICIENCY

     The petition in the above−mentioned case is deficient. The document(s) indicated below must be filed by the due date(s) listed at the
bottom of this notice, unless a motion for cause shown is filed before the due date(s). Failure to comply with this Notice will result in your
case being dismissed without further notice or hearing (exceptions*). Pursuant to F.R.Bank.P. 1002, 1007, 2016(b), and 3015(c), Local
Rules and 11 U.S.C. Section 521, the following are due:

 X Item                             Description                             X Item                              Description
      1.    Schedule A/B: Real Property (14 days)                          X    14.   Disclosure of Compensation of Attorney* (14 days)
      2.    Schedule C: Property Claimed as Exempt (14 days)               X    15.   Statement of Financial Affairs (14 days)
      3.    Schedule D: Creditors, Secured (14 days)                            16.   Statement of Intention* (30 days)
                                                                                      Creditor Matrix (7 days) If petition was not e−filed
      4.    Schedule E/F: Creditors, Unsecured (14 days)                   X    17.
                                                                                      Creditor Matrix(2 days) If petition was e−filed

      5.    Schedule G: Executory Contracts & Unexpired Leases (14              18.   List of 20 Largest Unsecured Creditors* (2 days)
            days)
      6.    Schedule H: Co−Debtors (14 days)                                    19.   List of Equity Security Holders (14 days)

      7.    Schedule I: Income (14 days)                                        20.   Statement of Current Monthly Income and Means Test
                                                                                      Calculation* (Chapter 7) (14 days)

      8.    Schedule J: Expenses (14 days)                                 X    21.   Statement of Current Monthly Income* (Chapter 11) (14 days)

      9.    Schedule J−2: Expenses Separate Household of Debtor 2 (14           22.   Statement of Current Monthly Income and Disposable Income
            days)                                                                     Calculation* (Chapter 13) (14 days)

 X    10.   Schedules A through J (14 days)                                     23.   B101A − Initial Statement/Eviction Judgment* (2 days)

 X    11.   Declaration About Debtor's Schedules (14 days)                      24.   Application to Pay Filing Fees In Installments (7 days)

 X    12.   Summary of Assets and Liabilities (14 days)                    X    25.   Other Petition Deficiencies:
                                                                                      Must upload creditor matrix due by 07/19/2019.
      13.   Plan & Analysis − Ch. 12 (90 days) Ch. 13 (14 days)

Comments:




                                           See Reverse Side For Additional Information
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    Item #               Due Date                   Item #                Due Date                   Item #                 Due Date
    10−12               07/31/2019                    21                 07/31/2019
      14,15                07/31/2019                 25,17               07/19/2019
Instructions for filing: Official forms are available on the Court's website. All documents must be electronically filed with the Court
through CM/ECF (Case Management/Electronic Case Filing). CM/ECF registration materials are available on the Court's website. Paper
copies of filings will only be accepted by pro se debtors. If you are unable to electronically file a document, a paper copy accompanied by a
certification setting forth the reasons why the document could not be electronically filed will be accepted.




                                                                                              Una O'Boyle, Clerk of Court
                                                                                                     /s/ Cheryl O. Hollis
             7/17/19
              Date                                                                By: ___________________________________
                                                                                                        Deputy Clerk
Rev. 10/10/2006

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